            COURT MINUTES OF FINAL PRE-TRIAL CONFERENCE


AKIL K. CARTER, PAULETTE H. BARR, and
SANDRA K. ADAMS,

v.                                                                     CASE NO. 19-CV-1422-JPS

CITY OF WAUWATOSA, JAMES MACGILLIS,
PATRICK KAINE, LUKE VETTER, NICOLE
GABRIEL, and DEREK DIENHART.



                           HON. J. P. STADTMUELLER PRESIDING
DATE: August 16, 2022                                           TIME SCHEDULED: 8:30 a.m.

COURT DEPUTY/CLERK: Caitlin Willenbrink                         TIME CALLED: 8:29 a.m.

COURT REPORTER: Thomas Malkiewicz                               TIME FINISHED: 8:41 a.m.

PLAINTIFFS BY: Joy Bertrand

DEFENDANTS BY: Kiley Zellner and Jasmyne Baynard


Notes:

8:29     Appearances; counsel for the parties appear in person; Court puts background of case on record
8:31     Court states trial will not proceed as originally scheduled for Monday, August 22 and notes
         parties’ pretrial submissions have not conformed with the Court’s orders
8:32     Court rejects contested motions in limine, jury instructions, and verdict form as failing to
         conform to Court’s orders; details issues with parties’ filings, discovery practices, and proposed
         witnesses
8:36     Court directs parties to confer as soon as practicable to address shortcomings in their motions
         in limine, jury instructions, and verdict form; should the parties wish to file an amended final
         pretrial report and/or motions in limine, they should file a motion seeking leaving to do so, with
         the relevant submissions attached; on receipt of such motion, the Court will review the content
         of the attachment(s) before accepting the report or ruling on any motions in limine




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8:37   Court notes that, if case proceeds to trial, trial will be completed in 2–3 days; Court directs parties
       to inform their clients that the case will not proceed to trial as scheduled due to counsel’s failures
       to conform their submissions to the Court’s orders
8:39   Parties have nothing further
8:40   Court reminds parties that mediation remains available; notes that trial will be rescheduled
       upon the Court’s consideration of amended pretrial filings
8:41   Court stands in recess




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